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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF SOUTH CAROLINA
                                      FLORENCE DIVISION

    John Doe,                                                           C.A. No. 4:18-cv-00268-RBH
                                     Plaintiff,

                   vs.                                          RESPONSE TO MOTION TO DISMISS
                                                                    PURSUANT TO Rule 12(b)(6)
    Coastal Carolina University,

                                   Defendant.


                                             i
                                                 ARGUMENT

          This is a case of first impression1 under Title IX involving conduct which can plausibly be

inferred as being anti-male through Coastal Carolina University (“Coastal”) officials seeking to

flagrantly and intentionally ignore written procedural rules governing appeal, combined with other

pre and post appeal procedural misconduct, in order to thwart and unlawfully overturn a Student

Conduct Board’s unanimous decision that John Doe, a Black male athlete, did not rape a

Caucasian female student cheerleader. Based on this seemingly one of a kind circumstance, it

would be premature to dismiss this Title IX action when the direct proof to support any plausible

legal theory and inferences—through written, oral communications and related testimony—is

within the sole dominion of Coastal.

                         STANDARD OF REVIEW FOR MOTION TO DISMISS

          Federal Rules of Civil Procedure, Rule 12(b) (6) allows a party to move to dismiss a

complaint for “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b) (6).




1
 The majority of cases instituted throughout the country under Title IX primarily involve a male student seeking to
overcome the findings of a single Student Conduct Board hearing. In this instance, we have two Student Conduct
Board hearings at issue, with the first one finding in favor of the plaintiff and the second one finding against him.
Based on all the cases reviewed to date, none resemble these circumstances of two hearings having been conducted,
nor do any of the cases involve an alleged abuse and violation of written rules governing an appeal by the accuser.

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To withstand a motion to dismiss, the complaint at issue must comply with Federal Rule of Civil

Procedure 8(a), which requires “a short and plain statement of the claim showing that the pleader

is entitled to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 677-78, 129 S.Ct. 1937, 173 L.Ed.2d 868

(2009) (quoting Rule 8(a)).

         This complaint must include sufficient facts to state a claim that is plausible on its face

and not speculative. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 570, 127 S.Ct. 1955, 167

L.Ed.2d 929 (2007) (emphasis added). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Iqbal, 556 U.S. at 678, 129 S.Ct. 1937. Mere “labels and conclusions

[or] a formulaic recitation of the elements of a cause of action” will not suffice. Twombly, 550

U.S. at 555, 127 S.Ct. 1955. The complaint must contain “either direct or inferential allegations

respecting all material elements to sustain a recovery under some viable legal theory.”

DiGeronimo Aggregates, LLC v. Zemla, 763 F.3d 506, 509 (6th Cir. 2014) (citation omitted). The

complaint “does not need detailed factual allegations” or “heightened fact pleading of specifics.”

Twombly, 550 U.S. at 555, 570, 127 S.Ct. 1955.2 In examining the sufficiency of a complaint,

respectfully this Court must accept well-pleaded facts as true, but not legal conclusions or legal

conclusions couched as factual allegations.                  Iqbal, 556 U.S. at 678-79, 129 S.Ct. 1937;

DiGeronimo Aggregates, 763 F.3d at 509. This Court may consider exhibits attached to the

complaint without converting a dismissal motion to a summary judgment motion. Rondigo, L.L.C.

v. Twp. Of Richmond, 641 F.3d 673, 681 (6th Cir. 2011). This Court can also make a determination


2
  The complaint in this action is laced throughout with detailed factual allegations, providing both direct proof and
proof by inference. Regrettably based on the assertions in the Motion to Dismiss and later in this response, these
factual allegations will be argued in detail to demonstrate a plausible legal theory and to establish the inferences of
male gender bias which a reasonable trier of fact can consider in proving this Title IX action. There will be
assertions by inference which may be considered scurrilous; however, the Motion to Dismiss assertions leave no
choice but to demonstrate that the complaint allegations are more than sufficient to provide a plausible theory of
recovery which can by inference establish anti-male bias under the circumstances of this case.

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that because of the unique circumstance of this case being of first impression, a Rule 12(b) (6)

motion is premature, because Coastal has records, including emails, notes, witness testimony, etc.,

within its sole dominion and control which can contain direct proof of specific factual allegations

supporting or further establishing anti-male bias and discovery has not commenced. See Doe v.

Columbia University, 831 F.3d 46 (2nd Cir. 2016); Doe v. Salisbury University, 123 F. Supp. 3d,

748 (D. Md. 2015)

              STANDARD OF REVIEW FOR ERRONEOUS OUTCOME CASE

       Primarily, this is an erroneous outcome case; however, in a typical erroneous outcome case,

it involves a single Student Conduct Board or the equivalent hearing, and the plaintiff “attack[s

the single] university disciplinary proceeding on grounds of gender bias”, arguing that the plaintiff

“was innocent and wrongly found to have committed an offense.” Yusuf, 35 F.3d 709, 715 (2nd

Cir. 1994).    It requires the plaintiff to show the outcome of a University’s student conduct

disciplinary proceeding was erroneous because of gender bias. To plead an erroneous outcome

claim, the plaintiff must state “(1) facts sufficient to cast some articulable doubt on the accuracy

of the outcome of the disciplinary proceeding and (2) a particularized causal connection between

the flawed outcome and gender bias.” Doe v. Cummins, 662 Fed. Appx. 437, 452 (66th Cir. 2016),

citing Yusuf, supra, 35 F.3d 709, 715. In this instance, Coastal seeks dismissal of this lawsuit on

the grounds that plaintiff John Doe has not pleaded sufficient facts to support either prong. The

Court, drawing all reasonable inferences in favor of John Doe, should disagree. Because in the

instant Complaint, the factual allegations have been pled in excruciating detail demonstrating to a

reasonable fact finder plausible legal theories and inferences which support gender bias.

       From the outset of this matter and prior to the original Student Conduct Board, it can be

inferred that the person primarily responsible for the case against John Doe and also its



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Investigator, specifically Dean of Students Overton, engaged in sexually inappropriate predatory

conduct towards student John Doe. It also plausible and can be inferred to a reasonable fact finder

that Dean Overton was spurned by John Doe, thereby generating an anti-male gender bias towards

John Doe. (Entry 1 ¶ 66).

        It can be inferred that Dean Overton engaged in sexually inappropriate predatory conduct

towards John Doe based on evidence which will show the following:

                 a.      From January 2016 through July 2016, Dean Overton would have weekly

        “mentoring” meetings with John Doe in his office.3

                 b.      During the course of these so-called “mentoring” meetings and over the

        protests of both John Doe and his father, Dean Overton purchased a dress suit for John Doe

        for approximately $300.00 or more as a gift, followed by taking John Doe to dinner.

                 c.      On or about July 1, 2006, John Doe was in an off-campus auto accident in

        the Myrtle Beach, South Carolina area, which was, upon information and belief,

        approximately more than 20 miles from Coastal’s campus.                       Dean Overton took

        primary/parental care of John Doe during his Emergency Room treatment, insisting John

        Doe’s father was not needed and instead, he “…would handle everything…,” including

        communication and coordination with treating physicians at the Grand Strand Regional

        Medical Center located in Myrtle Beach, South Carolina. (Entry 1 ¶ 65).

        It is plausible to a reasonable fact finder that these acts can be inferred to constitute

unwanted sexual advances by Dean Overton and when spurned by John Doe, a collegiate football

player at Coastal, generated animosity and an anti-male bias. It is plausible to a reasonable fact

finder and can be inferred that this animosity and anti-male bias against John Doe, a collegiate


3
  Discovery needs to be conducted as to whether Dean Overton had weekly “mentoring” meetings with any other
student in his office and the purpose behind those meetings.

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football player, became even stronger when John Doe’s father confronted Dean Overton about it

all. (Entry 1 ¶ 67). It is plausible to a reasonable fact finder that Dean Overton evidenced an anti-

male bias after this confrontation, when he never brought this conduct or the father’s concern to

the attention of neither the Coastal Legal Department nor other Coastal officials. And if Dean

Overton did so, then it can be inferred that either the Coastal Legal Department or other Coastal

officials ignored the bias created by this potential faculty-student predatory conduct and

confrontation. (Entry 1 ¶ 68).

       It is plausible to a reasonable fact finder and can be inferred that the following further

evidences an anti-male bias resulting from being spurned by John Doe and confronted by the father

for inappropriate predatory conduct:

               a.      When questioning John Doe during the investigative process, Dean

       Overton’s line of questioning was not impartial but hostile in nature, more akin to cross-

       examination in tenor to illicit a confession, rather than an objective attempt to factually

       reconstruct an event; ((Entry 1 ¶ 69).

               b.      When Dean Overton refused to interview the Cheerleading Coach to

       determine if any truth to accusations she may have coerced, convinced or persuaded Jane

       Doe to wrongly accuse John Doe of engaging in nonconsensual sex. This is despite

       members of the squad who knew Jane Doe well and seriously questioned her character for

       veracity and were aware of the prior intimate casual sexual relationship between Jane Doe

       and John Doe. Accusations were that if any of the cheerleading squad came forward with

       this type or other information which could exonerate John Doe, then it could result in

       dismissal from the cheerleading squad; (Entry 1 ¶ 69).




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        c.      When Dean Overton would mischaracterize the interview statements of

 several witnesses over their protest to him; (Entry 1 ¶ 69).

        d.      When Dean Overton refused to interview several potential witnesses

 present at the off campus pool party who could provide evidence in exoneration of John

 Doe based on observing Jane Doe’s interactions with John Doe and could provide

 corroborating evidence of subjective and objective consent. Several of these witness also

 had information regarding Jane Doe’s reputation for promiscuity.          Despite having

 approximately one hundred days to conduct the investigation and after being spurned by

 John Doe and confronted by the father, Dean Overton either refused to or did not interview

 these witnesses, with the effect of receiving Jane Doe’s false allegation of rape at face

 value; (Entry 1 ¶ 69).

        e.      When Dean Overton discouraged witnesses favoring John Doe from

 attending the first Student Conduct Board Hearing, who could either vouch for John Doe’s

 character or provide testimony that Jane Doe seriously lacked a character for veracity or

 could provide other evidence inconsistent with her having been sexually assaulted by John

 Doe; (Entry 1 ¶ 69).

        f.      Several of the above referenced witnesses testified at the first Student

 Conduct Hearing. Following the granting of the appeal of Jane Doe for a rehearing of the

 Student Conduct Board, these witnesses should have also been subsequently interviewed

 by the Dean Overton and invited to the testify at the rehearing held on March 31, 2017.

 (Entry 1 ¶ 69). It is plausible to a reasonable fact finder and can be inferred that Dean

 Overton did not do so because of a continuing animosity and resulting anti-male bias

 against John Doe, a collegiate football player who spurned his advances, particularly since



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        John Doe initially overcame the bias of Dean Overton at the first Student Conduct Board

        hearing.

                 h.       It is plausible to a reasonable fact finder and can be inferred (after some

        discovery being conducted) that Dean Overton was involved in the scheduling of the

        rehearing and knew these witnesses were unavailable at rehearing because of a mandatory

        varsity football trip at the same time when the rehearing was scheduled and conducted.

        (Entry 1 ¶ 70)

                 i.       And (after some discovery) plausible to a reasonable fact finder and can be

        inferred that Dean Overton’s anti-male bias after being spurned by John Doe and

        confronted by his father, played a major part in a refusal by Coastal to not to make

        scheduling accommodations for John Doe’s undersigned new attorney by granting a

        continuance of the rehearing. To have done so would have allowed the attendance of

        credibility and character witnesses against Jane Doe. (Entry 1 ¶ 72).

        It is not a farfetched notion, but plausible to a reasonable fact finder that Dean Overton,

who reports directly to and likely has daily access to Coastal’s Provost and Executive Vice

President engaged in conduct to influence the decision to accept Jane Doe’s untimely appeal.

Further, it is not a farfetched notion, but plausible to a reasonable fact finder that Dean Overton,

who attended the first Student Conduct Board, engaged in conduct to influence Mr. Byington’s

decision to grant a rehearing, all because of an anti-male bias.4

        For, it can also be plausible to a reasonable fact finder and inferred that Dean Overton, after

being spurned by John Doe and confronted by his father, the demonstrated a pro-female bias

towards the accuser through the following conduct:


4
 Document and deposition discovery needs to be conducted on this issue, with the direct proof of these inferences
within the sole dominion and control of Coastal.

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       a. Both Jane Doe and John Doe received an Investigation Notice, agreeing that, “Strict

confidentiality of this investigation and content of our communication is expected. … If a breach

of confidentiality comes to your attention …please inform our office immediately.” Jane Doe took

a photograph of confidential statements from witnesses with her cell phone during a meeting with

Dean Overton the Investigator, showing them to several students around Coastal’s campus….this

was reported to the Dean of Students Office headed by Dean Overton, but no disciplinary action

was taken against Jane Doe. (Entry 1 ¶ 73).

       b.      The Investigation Notice also stated that, “Retaliation against anyone involved in

the investigation is strictly prohibited…. (id.) Following the granting of the appeal Jane Doe

contacted New Spring Church of Anderson, South Carolina by telephone, informing it that John

Doe had been involved in a sexual assault….This was reported to the Dean of Students Office

headed by Dean Overton, but no disciplinary action was taken against Jane Doe. (Entry 1 ¶ 73).

       c.      Coastal allowed Jane Doe to escape scrutiny and punishment for admitted underage

drinking during the evening in question, in violation of its policies (Entry 1 ¶ 74), a decision of

which can be inferred to have been made by Dean Overton.

       It is plausible that if a reasonable fact finder considered all of the above evidence

collectively or some even individually that it would find that the accuser’s appeal being submitted

late and accepted, particularly if influenced by Dean Overton or Provost and Executive Vice

President Mr. Byington alone, that the only reason was because of an anti-male bias to undo a

Student Conduct Board Hearing favoring John Doe. The deadline to submit a written appeal had

been Friday, December 9, 2016. (Entry 1 ¶ 22). Jane Doe did not submit a written appeal of the

first Student Conduct Board’s decision until December 15, 2016. She missed the filing deadline

for an appeal by seven business days. A reasonable fact finder can conclude directly or by



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inference that the appeal should have been summarily rejected because Jane Doe missed the appeal

deadline (Entry 1 ¶ 23). It is plausible that a reasonable fact finder can infer that it is only because

of an anti-male bias, particularly with Dean Overton being involved, that the appeal was accepted

for consideration even though defective on its face. (Entry 1 ¶ 24). Because, Jane Doe was

required to specifically state the error(s) which took place at the Student Conduct Board hearing.

(Entry 1 ¶ 25). The appeal does not identify any specific (or general) procedural or evidentiary

error(s) that occurred during the hearing or in deliberations…..the appeal identified no new or

additional evidence that should have or could have been considered by the Student Conduct Board.

(Entry 1 ¶ 26).

        Coastal’s Provost and Executive Vice President Byington acknowledged reviewing in

detail the entire Student Conduct Board record of December 6, 2016, but cites no procedural or

evidentiary error of any kind to justify considering or granting the appeal. It is plausible to a

reasonable fact finder and can be inferred that he wanted to undo the prior unanimous finding that

a male, a collegiate football player, had prevailed on an accusation of rape by a cheerleader. It is

plausible to a reasonable fact finder that this is also evidence of an anti-male gender bias.

        For, there is not a single iota of new information identified in existence or available which

would or could have altered the December 6, 2016 Student Conduct Board decision. (Entry 1 ¶

28).   Yet, Mr. Byington ordered a second Student Board of Conduct and it is plausible to a

reasonable fact finder and can be inferred from all the above facts and circumstances that he simply

did not like the decision of the original December 6, 2016 Student Conduct Board finding in

unanimous favor of a male collegiate football player, John Doe, that he did not engage in non-

consensual sexual intercourse with Jane Doe. (Entry 1 ¶ 29). If so, it is plausible to a reasonable

fact finder and can be inferred that in Mr. Byington ordering a rehearing panel to the exclusion of



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two Coastal students and including only a Chairperson and three faculty members (Entry 1 ¶ 31),

Coastal’s chances of a decision favoring the female accuser increased, thereby constituting an anti-

male bias.

          All of the records to support these inferences, however, are within the dominion and control

of Coastal. Meaning discovery is needed, which would include records in the form of emails,

internal memos and witness testimony surrounding any meetings held in discussion of any appeal

decision by Mr. Byington and any influence on the decision asserted by Dean Overton.

          As in Doe v. Columbia University, supra, the Second Circuit held that the plaintiff pled

facts and allegations which supported at least a minimal inference of sexual bias on the part of the

university and as such the motion to dismiss based on the pleadings alone should have been denied

by the district court. In John Doe’s complaint and as shown in this response, more than a minimal

inference of sexual bias has been pled. Further the 2nd Circuit queried how an aggrieved student

was supposed to plead facts which show gender bias sufficient to survive a motion to dismiss, just

as here, if the defendant has all the records and there has been no discovery undertaken in the

matter.

          This case is also akin to Doe v. Salisbury University, supra, when the plaintiff instituted an

action against university officials and the female accuser for civil conspiracy, intentional infliction

of emotional distress, defamation, negligence and for violation of Title IX. The Maryland federal

district court denied the university’s motion to dismiss he negligence and Title IX claims in part

because of a failure, just as in this case, to adhere to university policies and procedures and that

the outcome of the university’s investigation may be erroneous and motivated by gender bias. In

that case, Plaintiff’s alleged numerous procedural defects by the university supported an erroneous




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outcome claim, as well as showing that evidence, which could contain specific factual allegations

was within the dominion and control of the defendant.

                                     STATE LAW CLAIMS

       As the Court is aware, it has discretion over exercising jurisdiction over state-law claims,

even against Coastal, a state owned institution. This is pursuant to Title 28, United States Code,

Section 1367, when the state law claims are so related to the claims in the action within such

original jurisdiction that they form part of the same case or controversy under Article III of the

United States Constitution. 28 U.S.C. Section 1367. This determination is premature and need be

addressed only after a decision on whether a Title IX claim can be maintained.

                                     CONCLUSION

       Based on the foregoing, plaintiff John Doe in his complaint has more than sufficiently pled

facts supporting the denial of a motion to dismiss and should be allowed to move forward into

discovery on his Title IX erroneous outcome and related claims.




                                                     Respectfully submitted,



                                                     /s/ Clarence Davis
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